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VI. Conclusion.
Accordingly, plaintiffs respectfully request that defendant Lee’S motion to

dismiss be denied.

Respeetfully Submitted by:
August 31, 2010

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l Signed for Doris I-Iolt by her self-appointed POA, her son James Spencer, Who assumes though missing she is still
alive.

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CERTIFICATE OF SERVlCE

l hereby certify that on the lSt day of September, 2010, I electronically filed the foregoing With
the Clerk of the Court using the CM/ECF system, Which Will then send a notification of such
filing (NEF) to the following:

Robert E. Lee

PO BoX 1096

Marion, SC 29571

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